                                                                     Exhibit B

                                                           AP SERVICES, LLC
                                            Summary of Fees and Hours by Professionals and
                        Description of Responsibilities of Professionals – Pacific Gas and Electric Company, et al.
                                      For the Period November 1, 2019 through November 30, 2019

   PROFESSIONAL             APS TITLE                                  RESPONSIBILITIES                                  RATE     HOURS        FEES
James A Mesterharm     Managing Director      Develop and implement financial restructuring strategies; serve as         $1,140       91.9 $    104,766.00
                                              lead AP Services resource on bankruptcy and restructuring issues;
                                              serve as key interface with creditor constituencies and other
                                              principal parties in interest; assist counsel in preparing and providing
                                              support for case motions, including testimony in bankruptcy court;
                                              provide transactional guidance, direction, and oversight; direct AP
                                              Services team and management on restructuring workstreams; assist
                                              management and advisors in development and negotiation of Plan of
                                              Reorganization

John Boken             Managing Director      Develop and implement financial and operational restructuring              $1,140      194.8      222,072.00
                                              strategies; serve as lead AP Services resource and interface with
                                              creditor advisors, creditor constituencies, contract counterparties,
                                              and other principal parties in interest; provide operational guidance,
                                              direction, and oversight; oversee AP Services team and management
                                              in financing, liquidity management, operational improvement,
                                              diligence support, contract assessment, and other key restructuring
                                              workstreams; oversee development of business plan and long-term
                                              forecast; coordinate with counsel on support for case motions,
                                              including testimony in bankruptcy court; assist management and
                                              advisors in development and negotiation of Plan of Reorganization



David R Hindman        Managing Director      Develop and implement operational restructuring and cost reduction         $1,015      287.2      291,508.00
                                              strategies; serve as lead AP Services resource on energy
                                              procurement, contract portfolio, and counterparty management
                                              issues; lead AP Services team and management in identification and
                                              implementation of cost efficiency opportunities across all business
                                              units and support functions; assist in interface, communications, and
                                              diligence support with creditor advisors, creditor constituencies,
                                              contract counterparties, and other principal parties in interest; assist
                                              in development of business plan and long-term forecast,
                                              assumptions, and support


Robb C McWilliams      Managing Director      Direct case management activities and priorities of working teams          $1,015      136.5      138,547.50
                                              across multiple work streams and advise on various matters
                                              including the review of invoices for the determination of prepetition
                                              and postpetition, monthly operating reports, claims analysis,
                                              assessment of contracts for assumption or rejection and the review
                                              and analysis of the various term sheets and the Plan of
                                              Reorganization
Vance L Scott          Managing Director      Lead the Supplier Reset Negotiations workstream for Tier 1 and Tier        $1,015       27.8       28,217.00
                                              2 Electric Operations, Gas Operations, Power and Nuclear
                                              Generation, Corporate Services and IT Vendors as part of the
                                              assessment of executory contracts.
Brooke Hopkins         Managing Director      Lead cost reduction initiatives relating to Third Party Risk               $1,015      100.5      102,007.50
                                              Management and Contract Management, including Plan-to-
                                              Procure-to-Pay process improvements, in collaboration with the
                                              CPO and Internal Audit. Identify financial control improvements
                                              to help with underlying issues such as AFPOs, accruals, etc.




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    PROFESSIONAL             APS TITLE                              RESPONSIBILITIES                                 RATE    HOURS       FEES
Eva Anderson           Director             Manage and facilitate development of responses to all diligence           $945      126.8     119,826.00
                                            requests submitted by the Official Committee advisors and ad hoc
                                            creditor advisors. Support development of presentation materials for
                                            extensive on-site creditor advisor management meetings. Support
                                            Company's real estate team on bankruptcy-related owned and leased
                                            property issues.

John Kaplan            Director             Support cost reduction workstream and drive the Integrated               $945        128.3    121,243.50
                                            Investment Planning & Project Execution Processes Implementation.
                                            Leading redesign of Main Replacement planning and project
                                            execution process.

Ken Chan               Director             Support cost reduction workstream activities. Lead overall               $945        176.8    167,076.00
                                            vegetation management cost reduction (wildfire, wood removal,
                                            technology productivity improvement, contract negotiation, supply
                                            strategy). Co-lead fleet management cost reduction (outsourcing,
                                            specs rationalization, process improvement, demand management).
                                            Assist electrical operations contracting and process improvement.

Rus Parashchak         Director             Support cost reduction workstreams and Integrated Investment             $945        171.8    162,351.00
                                            Planning & Project Execution Processes Implementation. Help drive
                                            redesign of Main Replacement planning and project execution
                                            process.
Randy Fike             Director             Support the Supplier Reset Negotiations workstream for Tier 1 and        $945        194.9    184,180.50
                                            Tier 2 Electric Operations, Gas Operations, Power and Nuclear
                                            Generation, Corporate Services and IT Vendors as part of the
                                            assessment of executory contracts. Serve as principal negotiator for
                                            the Power and Nuclear Generation, Corporate Services and IT
                                            Vendors.
Lisa Perfetti          Director             Support the effort to prepare materials for the board review of Third    $945        105.5     99,697.50
                                            Party Risk Management and Contract Management including Plan-
                                            to-Procure-to-Pay process improvements in collaboration with the
                                            new CPO and Internal Audit. Identify financial control
                                            improvements to help with underlying issues such as AFPOs,
                                            Accrual process, etc.
Virgilio E Sosa        Director             Support the Supplier Reset Negotiations workstream for Tier 1 and        $945        144.2    136,269.00
                                            Tier 2 Electric Operations, Gas Operations, Power and Nuclear
                                            Generation, Corporate Services and IT Vendors as part of the
                                            assessment of executory contracts. Serve as principal negotiator for
                                            the Electric Operations Vendors.

Bradley Hunter         Director             Lead liquidity and cash management workstreams. Manage                   $895         13.2     11,814.00
                                            development and maintenance of cash forecast and actual tracking
                                            models. Coordinate production of periodic cash forecast reports for
                                            internal and external reporting. Participate in regular meetings with
                                            management to review cash flow trends and liquidity status.


Erik Bell              Director             Support the operation of the Spend Governance Committee.                 $895        114.5    102,477.50
                                            Participate in cost reduction efforts around the Gas Operations and
                                            Power Generation groups including the identification and evaluation
                                            of specific opportunities to reduce or defer expenditures in an effort
                                            to lower customer energy rates.




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    PROFESSIONAL              APS TITLE                                 RESPONSIBILITIES                                RATE    HOURS       FEES
John C Labella          Director                Lead and manage team of PGE, AP Services and temporary staffing          $895      139.1     124,494.50
                                                in the review of vendor invoices for a determination if services or
                                                goods provided were in the pre or post-petition period. Design and
                                                implement updated semi-automated invoice review processes to
                                                expedite invoice reviews as necessary. Provide support to PGE
                                                accounting group in identifying and aggregating financial data for
                                                preparation of Monthly Operating reports for July and August.
                                                Develop and manage claims review teams to perform reconciliations
                                                of vendor trade claims against relevant company records and assist
                                                in resolution of causes for variances.


Denise Lorenzo          Director                Design and manage process for submitting, approving and                 $830        109.6     90,968.00
                                                processing prepetition payments authorized under various first day
                                                motions (Supplier Management Committee), including the
                                                assessment of Operational Integrity Supplier designations. Design
                                                and manage process for reporting of executed prepetition payments
                                                and maintaining controls to ensure compliance with granted first day
                                                authority. Design and manage process for designating all executory
                                                contracts for assumption, rejection and renegotiation.

Michelle R Repko        Director                Design and manage process for all claims resolution efforts across      $830        120.0     99,600.00
                                                various company functional teams. Assist Company in performing
                                                preliminary analysis on existing claims population. Assist Company
                                                in development and execution of high dollar claim assessment
                                                process to facilitate Q3 financial reporting requirements. Support
                                                various other case management efforts.

John Galiski            Director                Work on the effort to prepare materials for the board review of Third   $830        139.2    115,536.00
                                                Party Risk Management and Contract Management including Plan-
                                                to-Procure-to-Pay process improvements in collaboration with the
                                                new CPO and Internal Audit. Identify financial control
                                                improvements to help with underlying issues such as AFPOs,
                                                Accrual process, etc.

Brent Robison           Director                Lead cross-functional effort with AP Services team and company          $775        132.8    102,920.00
                                                team members in development and implementation of a process to
                                                resolve over 600 asserted 503b9 claims. Assist company in
                                                development and formation of claims steering committee and
                                                organization-wide process for resolving claims. Assist company in
                                                preforming preliminary analysis on existing claim population.
                                                Support various other case management efforts.

Eric J Powell           Director                Lead Construction Services and Engineering cost savings assessment      $775        154.5    119,737.50
                                                which includes external sourcing labor and non-labor work and
                                                internal work and resource optimization; coordinate interaction and
                                                work across the electric and gas lines of businesses

Patryk P Szafranski     Director                Serve as lead AP Services resource on business plan development;        $775        235.6    182,590.00
                                                lead AP Services team and client staff in 5 year forecast
                                                consolidation, scenarios modeling; assist in interface,
                                                communications, and diligence support with potential investors and
                                                other internal and external stakeholders
Elizabeth Kardos        Director                Assist in the preparation of retention documents, relationship          $685          7.1        4,863.50
                                                disclosures reports and monthly staffing and compensation reports


Rod G Maclean           Senior Vice President   Provide analytical support to cost reductions workstream and            $725         16.6     12,035.00
                                                analysis of PGE internal labor spend for each line of business.




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    PROFESSIONAL                 APS TITLE                                RESPONSIBILITIES                                    RATE    HOURS      FEES
Jorge L Wallis Iribarren   Senior Vice President   Support the Supplier Reset Negotiations workstream for Tier 1 and           $665       1.3        864.50
                                                   Tier 2 Electric Operations, Gas Operations, Power and Nuclear
                                                   Generation, Corporate Services and IT Vendors as part of the
                                                   assessment of executory contracts. Serve as principal negotiator for
                                                   the Gas Operations Vendors.

Yong Zheng                 Senior Vice President   Support the Supplier Reset Negotiations workstream for Tier 1 Gas          $665       207.0    137,655.00
                                                   Operations, as part of the assessment of executory contracts and
                                                   overall spend reduction efforts. Serve as support to the principal
                                                   negotiator for the Gas Operations Vendors.

Arnab Mukherjee            Senior Vice President   Support cost reduction workstream with specific focus on Integrated        $665       117.6     78,204.00
                                                   Investment Planning & Project Execution. Support assessment of
                                                   current processes and development of recommendations for Main
                                                   Replacement.
Jarod E Clarrey            Senior Vice President   Design and manage process for all claims resolution efforts across         $615         0.8        492.00
                                                   various company functional teams. Conduct training session with
                                                   PGE claims review teams to provide process overview and web-
                                                   based analytical instruction. Led efforts to amend Schedules of
                                                   Assets and Liabilities related to PGE real property. Support contract
                                                   management workstream.

Jennifer A McConnell       Senior Vice President   Support diligence response workstream with development of                  $615       138.0     84,870.00
                                                   response materials to diligence requests, coordination with company,
                                                   counsel and other constituents, tracking of response status, and
                                                   reporting/presentations related thereto.
Wally Li                   Senior Vice President   Support and maintain the claims and contracts website including            $600        31.2     18,720.00
                                                   user management and system/software/security upgrades and
                                                   patches; support and resolve user technical issues; develop and test
                                                   requested changes (such as new functions/modules); handle data
                                                   update, import, export, and archive upon requests.

Kaitlyn A Sundt            Senior Vice President   Assist in the preparation of retention documents, relationship             $490         0.8        392.00
                                                   disclosures reports and monthly staffing and compensation reports

Laurie C Verry             Senior Vice President   Assist in the preparation of retention documents, relationship             $490         0.7        343.00
                                                   disclosures reports and monthly staffing and compensation reports

Christopher S Atkins       Vice President          Support spend governance workstream with a focus on IT. Assist             $600       205.3    123,180.00
                                                   with cost reduction initiative development and implementation
                                                   through data mining and analysis. Transition to PMO to begin
                                                   developing structure and execution timeline.
Sid Joshi                  Vice President          Support the Supplier Reset Negotiations workstream for Tier 2              $565       174.2     98,423.00
                                                   Supplier Outreach, as part of the assessment of executory contracts
                                                   and overall spend reduction efforts.
David M Purcell            Vice President          Support liquidity and cash management workstream and business              $565       251.6    142,154.00
                                                   plan development workstream. Build and maintain cash forecast,
                                                   track and analyze actual results, and develop cash forecast reports
                                                   for internal and external parties. Additionally assist client staff in 5
                                                   year forecast consolidation and scenarios modeling.


Jeremy P Egan              Vice President          Support the Supplier Reset Negotiations workstream for Tier 1              $565       152.4     86,106.00
                                                   Electric Operations, as part of the assessment of executory contracts
                                                   and overall spend reduction efforts. Serve as support to the principal
                                                   negotiator for the Electric Operations Vendors.




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   PROFESSIONAL                 APS TITLE                             RESPONSIBILITIES                                   RATE    HOURS       FEES
Drew J Willis             Vice President       Support the Supplier Reset Negotiations workstream for Tier 1 and          $565      129.9      73,393.50
                                               Tier 2 Electric Operations, Gas Operations, Power and Nuclear
                                               Generation, Corporate Services and IT Vendors as part of the
                                               assessment of executory contracts. Serve as principal negotiator for
                                               the Gas Operations Vendors.
Bryce Pyle                Vice President       Support business plan development workstream with focus on                $565        282.5    159,612.50
                                               validation of five-year forecast. Assist in diligence support with
                                               internal and external stakeholders.
Ryan N Witte              Vice President       Support cost reduction workstream activities within vegetation            $565        153.4     86,671.00
                                               management and fleet management. Ryan will co-lead the support
                                               to fleet and aviation cost reductions (outsourcing, specs
                                               rationalization, process improvement, demand management).

Nitesh Neelanshu          Vice President       Support cost reduction workstream with specific focus on analytics        $565        172.2     97,293.00
                                               and documentation support related to construction and engineering
                                               services spend optimization. Support PMO, steering committee and
                                               additional cost reduction efforts as necessary.

Spencer Dorsey            Vice President       Support liquidity, cash management and vendor management                  $480        193.3     92,784.00
                                               workstreams. Prepare daily cash report to monitor post-petition
                                               liquidity for PGE Treasury department/CRO/Deputy CRO. Build
                                               and maintain disbursements database to support payment tracking
                                               initiatives related to prepetition vs. postpetition payments and
                                               payments permissible under first day motion authority.


Margarita Kucherenko      Vice President       Support claims management workstream with specific focus on               $480        136.6     65,568.00
                                               development of the overall claims process workflow materials to
                                               facilitate claims assessment by PGE functional assessment teams.


Robell G. Wondwosen       Vice President       Support cost reduction workstream with specific focus on                  $480        198.8     95,424.00
                                               implementation of PMO structure to support cost reduction
                                               initiatives. Provide ad hoc support to business plan development
                                               workstream.
Daniella Negron La Rosa   Vice President       Support the EO (Electric Operations) cost reduction team with             $480        158.3     75,984.00
                                               specific focus on AFPO activity and management of contractor
                                               rates.
Michelle E Meyer          Vice President       Support Supplier Reset Negotiations workstream for Tier 1 and Tier        $480        170.4     81,792.00
                                               2 Electric Operations, Gas Operations, Power and Nuclear
                                               Generation, Corporate Services and IT Vendors as part of the
                                               assessment of executory contracts. Coordinate with PG&E Project
                                               Management Office for negotiations and contract cure amounts, and
                                               assist in analysis for Tier 1 and Tier 2 negotiations.


Bruce Smathers            Vice President       Support the cost reduction workstream within Gas Operations by            $440        173.1     76,164.00
                                               identifying, evaluating, and tracking initiatives in an effort to lower
                                               customer energy rates.
Tammy Brewer              Vice President       Assist with the preparation of monthly staffing and compensation          $430          8.3        3,569.00
                                               reports
Melanie McCabe            Vice President       Assist with the preparation of monthly staffing and compensation          $400          6.0        2,400.00
                                               reports
Andrea M LeBar            Associate            Assist with the preparation of monthly staffing and compensation          $360         51.0     18,360.00
                                               reports
Austin Simon              Associate            Support cost reduction workstream activities within vegetation            $240        122.9     29,496.00
                                               management and fleet management. Provide support to the principal
                                               negotiation team.




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    PROFESSIONAL               APS TITLE                                RESPONSIBILITIES                                  RATE    HOURS       FEES
Brian Beilinson           Consultant            Support compliance with accounts payable segregation requirements          $425      119.4      50,745.00
                                                by (1) designing a process and methodology for designating invoices
                                                as prepetition or post-petition and (2) training and managing a team
                                                of 30 billing analysts tasked with reviewing and classifying all 3-
                                                way match PO invoices as pre-petition or post-petition. Managed
                                                the Claims Review Team by 1) creating and teaching the general
                                                claims reconciliation training materials, 2) reviewing templates
                                                submitted by the claim reviewers for accuracy, and 3) managing the
                                                claims WIP queue and tracking results.


Zachary A Pollack         Consultant            Support compliance with accounts payable segregation requirements         $425        173.4      73,695.00
                                                with development of SQLite database to analyze daily open invoices.
                                                Utilize daily SAP reports and the open invoices database to
                                                distribute daily invoice assignments queue to the invoice review
                                                team as well as report on payment blocks and their dispositions.


Zachary E Courie          Consultant            Support supplier management committee process with the design             $425        181.4      77,095.00
                                                and implementation of payment request forms, management of
                                                committee meeting agendas, and creation of payments report.
                                                Advise company on proper adherence to supplier management
                                                committee guidelines/requirements, designation of prepetition
                                                invoices and analysis required to support evaluation of potential
                                                operational integrity suppliers. Support the assessment of executory
                                                contracts by creating a contracts database, managing updates to the
                                                contracts webtool and database, and creating contracts reporting for
                                                management.

Tim T Kan                 Consultant            Perform analysis and support for the Supplier Reset Negotiations          $425        132.4      56,270.00
                                                workstream for Tier 1and Tier 2 Electric Operations, Gas
                                                Operations, Power and Nuclear Generation, Corporate Services and
                                                IT Vendors as part of the assessment of executory contracts.



Kevin French              Consultant            Support cost reduction initiatives relating to Third Party Risk           $425         51.2      21,760.00
                                                Management and Contract Management, including Plan-to-
                                                Procure-to-Pay process improvements, in collaboration with the
                                                CPO and Internal Audit. Identify financial control improvements
                                                to help with underlying issues such as AFPOs, accruals, etc.


Katharine G Glasscock     Consultant            Support claims management workstream and manage database                  $385        164.8      63,448.00
                                                containing all filed and scheduled claims as well as claims
                                                objections. Develop and maintain automated process to facilitate
                                                initial analysis and categorization of filed claims as well as matching
                                                to scheduled claims. Assist company in preliminary assessment of
                                                existing claims population.
Barbara J Ferguson        Paraprofessional      Support claims management workstream                                      $305         53.3      16,256.50
Derrick Q Irving          Paraprofessional      Support claims management workstream                                      $305         24.1        7,350.50
Total Professional Hours and Fees                                                                                                   7,206.8   4,941,332.00




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